               United States Court of Appeals
                                 For the First Circuit
                                    _____________________

No. 25-1658

 IN RE: US DEPARTMENT OF STATE; US DEPT. OF HOMELAND SECURITY; TODD
     LYONS, in their official capacity as Acting Director of US Immigration and Customs
Enforcement; MARCO RUBIO, in their official capacity as Secretary of State; KRISTI NOEM,
  in their official capacity as Secretary of Homeland Security; DONALD J. TRUMP, in their
              official capacity as President of the United States; UNITED STATES,

                                     Defendants - Petitioners.
                                      __________________

                                              Before

                                 Rikelman, Kayatta, and Aframe,
                                        Circuit Judges.
                                     __________________

                                          JUDGMENT

                                      Entered: July 18, 2025

        Petitioners' Motion for Leave to File Reply in Support of Petition for a Writ of Mandamus
is allowed. Plaintiffs' Motion for Leave to File Sur-reply in Support of Answer to Petition for Writ
of Mandamus is allowed.

        Petitioners have filed a petition for writ of mandamus seeking an order from this court
addressing certain evidentiary privilege rulings in the district court. The writ of mandamus is an
exceptional remedy, one which the court should only grant in the exercise of its sound discretion.
In re Cargill, Inc., 66 F.3d 1256, 1260 (1st Cir. 1995). In the present case, petitioners have not
carried their burden of demonstrating "a clear entitlement to the relief requested." In re JP Morgan
Chase Bank, N.A., 799 F.3d 36, 38 (1st Cir. 2015).

       Accordingly, the petition is denied. The stay previously issued by the court is vacated.


                                                       By the Court:

                                                       Anastasia Dubrovsky, Clerk
cc:
Hon. William G. Young
Robert Farrell, Clerk, United States District Court for the District of Massachusetts
Alexander Abdo
Ahilan T. Arulanantham
David Zimmer
Caroline DeCell
Edwina Bullard Clarke
Michael Tremonte
Noam Biale
Alexandra Conlon
Courtney Gans
Jackson Thomas Busch
Jameel Jaffer
Ramya Krishnan
Scott B. Wilkens
Talya Nevins
Xiangnong Wang
Yaman Salahi
Ethan B. Kanter
Donald Campbell Lockhart
Paul F. Stone
Victoria M. Santora
Jessica Danielle Strokus
Nancy Naseem Safavi
Amanda Mundell
Harry Graver
Sophia Shams
William Kanellis
Eric Dean McArthur
Mark R. Freeman
Brett Allen Shumate
Joshua M. Daniels
Arthur Liou
Julia Lum
Peter W. Saltzman
Philip Monrad
David Rassoul Rangaviz
Joel Anderson Fleming
Lauren Godles Milgroom
